                                          Case 3:22-cv-08991-JSC Document 369 Filed 03/27/24 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     DANTE DEMARTINI, et al.,                            Case No. 3:22-cv-08991-JSC
                                                         Plaintiffs,
                                   8
                                                                                             ORDER RE: ADMINISTRATIVE
                                                  v.                                         MOTION FOR ADR REFERRAL
                                   9

                                  10     MICROSOFT CORPORATION,                              Re: Dkt. No. 362
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Microsoft’s administrative motion for an ADR referral is DENIED. (Dkt. No. 362.)

                                  14   However, at the next status conference the parties shall be prepared to discuss an ADR referral.

                                  15   The Court will require the parties to participate in ADR prior to trial as it does in all cases.

                                  16          The Court sets a further status conference for May 2, 2024 at 1:30 p.m. via Zoom video.

                                  17   The parties shall file an updated joint statement by April 30, 2024.

                                  18          This Order disposes of Docket No. 362.

                                  19          IT IS SO ORDERED.

                                  20   Dated: March 27, 2024

                                  21

                                  22
                                                                                                      JACQUELINE SCOTT CORLEY
                                  23                                                                  United States District Judge
                                  24

                                  25

                                  26
                                  27

                                  28
